     Case: 23-2992      Document: 29          Filed: 01/23/2024     Pages: 91


      No. 23-2992, consolidated with Nos. 23-2993, 23-2994, 23-2995, 23-2996,
         23-2997, 23-2998, 23-2999, 23-3000, 23-3001, 23-3002, and 23-3003

           In the United States Court of Appeals
                   for the Seventh Circuit
     KEELY ROBERTS, and JASON ROBERTS, individually and as parents
                  and next friends of C.R and L.R.,
                   PLAINTIFFS-APPELLEES,

                                         v.

 SMITH & WESSON BRANDS, INC., SMITH & WESSON SALES COMPANY, and
                    SMITH & WESSON, INC.,
                  DEFENDANTS-APPELLANTS,

                                        and

BUDSGUNSHOP.COM, LLC, RED DOT ARMS, INC., ROBERT CRIMO, JR., and
                     ROBERT CRIMO, III,
              NON-APPELLANT DEFENDANTS.

     ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR
              THE NORTHERN DISTRICT OF ILLINOIS

      Nos. 1:22-cv-06169, 1:22-cv-06171, 1:22-cv-06178, 1:22-cv-06183, 1:22-cv-06185,
        1:22-cv-06190, 1:22-cv-06193, 1:22-cv-06359, 1:22-cv-06181, 1:22-cv-06191,
                               1:22-cv-06361, 1:22-cv-06186

          THE HONORABLE JUDGE STEVEN CHARLES SEEGER


                    BRIEF OF PLAINTIFFS-APPELLEES


CONTINUED ON NEXT PAGE
        Case: 23-2992    Document: 29          Filed: 01/23/2024    Pages: 91


CONTINUED FROM PRIOR PAGE

ALEXANDER G. TIEVSKY*                    H. CHRISTOPHER BOEHNING**
J. ELI WADE-SCOTT                        PAUL, WEISS, RIFKIND,
EDELSON P.C.                                WHARTON & GARRISON LLP
350 N. LASALLE STREET, 14TH FLOOR        1285 Avenue of the Americas
CHICAGO, IL 60654                        New York, NY 10019-6064
312-242-0859                             (212) 373-3000
atievsky@edelson.com                     cboehning@paulweiss.com

ERIN DAVIS                               ANTONIO M. ROMANUCCI
PHILIP BANGLE                            DAVID A. NEIMAN
BRADY CENTER TO PREVENT GUN VIO-         ROMANUCCI & BLANDIN, LLC
LENCE                                    321 NORTH CLARK STREET, SUITE 900
840 FIRST STREET NE, SUITE 400           CHICAGO, IL 60654
WASHINGTON, DC 20002                     (312) 458-1000
(202) 370-8100
                                         ALLA LEFKOWITZ
DONNA J. VOBORNIK                        EVERYTOWN LAW
BRIAN E. COHEN                           P.O. BOX # 14780
DENTONS US LLP                           WASHINGTON DC 20044
233 S. WACKER DRIVE, SUITE 5900          (202) 545-3257
CHICAGO, IL 60606-6361
312-876-8000                            ** Counsel of record in Case Nos. 23-2992, 23-2993,
                                        23-2994, 23-2995, 23-2996, 23-2997, 23-2998, 23-3000,
*Counsel of record in Case Nos. 23-2999 23-3001, 23-3003
and 23-3002
                                        ATTORNEYS FOR KEELY ROBERTS AND JASON ROB-
ATTORNEYS FOR ELIZABETH TUR- ERTS, INDIVIDUALLY AND AS PARENTS AND NEXT
NIPSEED AND JOSHUA CHUPACK, INDI- FRIENDS OF C.R. AND L.R., SYLVIA VERGARA, LIZET
VIDUALLY AND AS PARENTS AND NEXT MONTEZ, GABRIELA VERGARA, MICHAEL AND CHRIS-
FRIENDS OF I.C.                         TINE ZEIFERT, INDIVIDUALLY AND AS PARENTS AND
                                        NEXT FRIENDS OF B.R.Z., B.M.Z., K.Z., AND L.Z., LAU-
                                        REN AND MICHAEL BENNETT, INDIVIDUALLY AND AS
                                        PARENTS AND NEXT FRIENDS OF T.B. AND W.B., TER-
                                        RIE BENNETT, JEFFREY BENNETT, DEBORAH SAMU-
                                        ELS, ELLIOT SAMUELS, RICARDO TOLEDO, INDIVIDU-
                                         ALLY AND AS SPECIAL ADMINISTRATOR OF THE ESTATE
                                         OF NICOLAS TOLEDO, DECEASED, PETRA TOLEDO,
                                         JOSEFINA TOLEDO, ALEJO TOLEDO, LORENA REBOL-
                                         LAR SEDANO, MIRNA RODRIGUEZ AND OSCAR
                                         SANCHEZ, INDIVIDUALLY AND AS PARENTS AND NEXT
                                         FRIENDS OF J.S., K.S., AND O.S., PETER STRAUS AND
                                         JONATHAN STRAUS, AS CO-ADMINISTRATORS OF THE
       Case: 23-2992   Document: 29        Filed: 01/23/2024   Pages: 91


                                      ESTATE OF   STEPHEN STRAUS, DECEASED, BRUCE
                                      SUNDHEIM, AS SPECIAL ADMINISTRATOR OF THE ES-
                                      TATE OF JACQUELINE SUNDHEIM, DECEASED, AMELIA
                                      TENORIO AND ANTONIO MELGAR, INDIVIDUALLY AND
                                      AS PARENTS AND NEXT FRIENDS OF C.M.


                                      KEITH L. HUNT
                                      DELANEY A. HUNT
                                      HUNT LAW PC
                                      2275 HALF DAY RD SUITE 126
                                      BANNOCKBURN, IL 60015
                                      (312) 558-1300

                                      ATTORNEYS FOR KEELY ROBERTS AND JASON ROB-
                                      ERTS, INDIVIDUALLY AND AS PARENTS AND NEXT
                                      FRIENDS OF C.R. AND L.R., MICHAEL AND CHRISTINE
                                      ZEIFERT, INDIVIDUALLY AND AS PARENTS AND NEXT
                                      FRIENDS OF B.R.Z., B.M.Z., K.Z., AND L.Z.




JANUARY 23, 2024
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                                                    Pages: 2
 Case:23-2992
Case:  23-2992    Document:29
                 Document:  7   Filed: 01/23/2024
                                Filed: 11/09/2023   Pages: 91
                                                    Pages: 2
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                      Case:
                      Case: 23-2992
                            23-2992                Document:
                                                   Document: 11-1
                                                             29                      Filed:01/23/2024
                                                                                   Filed:   11/16/2023 Pages:
                                                                                                        Pages:911                                  (1 of 3)
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No : _2_3-_2_99_2_ _ __

Short Caption: Keely Roberts, et al v. Smith & Wesson Brands, Inc, et al.

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

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within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party's main brief. Counsel is required to complete the entire statement and to use
NIA for any information that is not applicable if this form is used.

          □         PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

( 1)      The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          See Exhibit 1



(2)       The names of all law finns whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Romanucci & Blandin. LLC: Everytown Law: Paul, Weiss. Wharton & Garrison LLP: Hunt Law, P.C.



(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     N/A
          ii)       list any publicly held company that owns 10% or more of the party's, amicus' or intervenor's stock:

                     N/A
(4)       Provide information required by FRAP 26.l(b)- Organizational Victims in Criminal Cases:

           N/A
(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A


Attorney's Signature: /s/ Antonio M. Romanucci                                  Date: 11/16/2023

Attorney's Printed Name: _A_n_to_n_i_o_M_._R_o_m_a_nu_c_c_i_____________________________

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).    Yes

Address: 321 N Clark Street, STE 900

           Chicago. IL 60654

Phone Number: _3_1_2-_2_5_3_-1_0_0_0_ _ _ _ _ _ _ _ _ _ _ __ Fax Number: 312-253-1004

E-Mail Address: aromanucci@rblaw.net
                                                                                                                                          rev. 12/19 AK
         Case:
         Case: 23-2992
               23-2992       Document:
                             Document: 11-2
                                       29           Filed:01/23/2024
                                                  Filed:   11/16/2023 Pages:
                                                                       Pages:912                   (2 of 3)
                                        Exhibit 1
                                 Antonio M. Romanucci is
                                       Representing
Keely Roberts, et al v. Smith & Wesson Brands, Inc., et al; 23-2992
       Jason Roberts, individually and as parent and next friend of C.R. and L.R.
       Keely Roberts, individually and as parent and next friend of C.R. and L.R.

Lauren Bennett, et al v. Smith & Wesson Brands, Inc., et al; 23-2993
      Jeffrey Bennett
      Lauren Bennett
      Michael Bennett
      Terri E. Bennett
      Deborah Samuels
      Elliot Samuels

Bruce Sundheim v. Smith & Wesson Brands, Inc., et al; 23-2994
      Bruce Sundheim, as Special Administrator of the Estate of Jacqueline Sundheim,
      deceased

Lorena Rebollar Sedano v. Smith & Wesson Brands, Inc., et al; 23-2995
      Lorena Rebollar Sedano

Mirna Rodriguez, et al v. Smith & Wesson Brands, Inc., et al; 23-2996
      Mirna Rodriguez, individually and as parent and next-friend of J.S., K.S., and O.S.
      Oscar Sanchez, individually and as parent and next-friend of J.S., K.S., and O.S.
Sylvia Vergara, et al v. Smith & Wesson Brands, Inc., et al; 23-2997
       Lizet Montez
       Gabriela Vergara
       Sylvia Vergara
Michael Zeifert, et al v. Smith & Wesson Brands, Inc., et al; 23-2998
      Christine Zeifert, individually and as parent and next-friend of B.R.Z., B.M.Z., K.Z., and
      L.Z.
      Michael Zeifert, individually and as parent and next-friend of B.R.Z., B.M.Z., K.Z., and
      L.Z.

Peter Straus, et al v. Smith & Wesson Brands, Inc., et al; 23-3000
        Jonathan Straus, as Co-Administrators of the Estate of Stephen Straus, deceased
Peter Straus, as Co-Administrators of the Estate of Stephen Straus, deceased

Ricardo Toledo, et al v. Smith & Wesson Brands, Inc., et al; 23-3001
      Alejo Toledo Josefina
      Toledo Petra Toledo
      Ricardo Toledo, individually and as Special Administrator of the Estate of Nicolas
      Toledo, deceased
        Case:
        Case: 23-2992
              23-2992       Document:
                            Document: 11-2
                                      29             Filed:01/23/2024
                                                   Filed:   11/16/2023 Pages:
                                                                        Pages:912   (3 of 3)
Amelia Tenorio, et al v. Smith & Wesson Brands, Inc., et al; 23-3003
      Antonio Melgar, individually and as parent and next-friend of C.M.
Amelia Tenorio, individually and as parent and next-friend of C.M.
                                                                                                           Save As                  Clear Form
                      Case: 23-2992
                      Case: 23-2994                Document: 29
                                                   Document: 9-1                    Filed:01/23/2024
                                                                                   Filed:  11/16/2023               Pages:91
                                                                                                                   Pages:  1                       (1 of 3)
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No : _2_3-_2_99_2_ _ __

Short Caption: Keely Roberts, et al v. Smith & Wesson Brands, Inc, et al.

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( 1)      The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
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(2)       The names of all law finns whose partners or associates have appeared for the party in the case (including proceedings in the district court or
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           Romanucci & Blandin. LLC: Everytown Law: Paul, Weiss. Wharton & Garrison LLP: Hunt Law, P.C.



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                     N/A
          ii)       list any publicly held company that owns 10% or more of the party's, amicus' or intervenor's stock:

                     N/A
(4)       Provide information required by FRAP 26.l(b)- Organizational Victims in Criminal Cases:

           N/A
(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A


Attorney's Signature: _/s_/_D_a_v_id_A_._N_e_im_a_n_ _ _ _ _ _ _ _ _ _ _ Date: 11/16/2023

Attorney's Printed Name: _D_a_v_id_A_._N_e_im_a_n_______________________________

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).    Yes

Address: 321 N Clark Street, STE 900

           Chicago. IL 60654

Phone Number: _3_1_2-_2_5_3_-1_0_0_0_ _ _ _ _ _ _ _ _ _ _ __ Fax Number: 312-253-1004

E-Mail Address: dneiman@rblaw.net
                                                                                                                                          rev. 12/19 AK
         Case: 23-2992
         Case: 23-2994        Document: 29
                              Document:  9-2        Filed:01/23/2024
                                                   Filed:  11/16/2023         Pages:91
                                                                             Pages:  2             (2 of 3)
                                         Exhibit 1
                               David A. Neiman is Representing

Keely Roberts, et al v. Smith & Wesson Brands, Inc., et al; 23-2992
       Jason Roberts, individually and as parent and next friend of C.R. and L.R.
       Keely Roberts, individually and as parent and next friend of C.R. and L.R.

Lauren Bennett, et al v. Smith & Wesson Brands, Inc., et al; 23-2993
      Jeffrey Bennett
      Lauren Bennett
      Michael Bennett
      Terri E. Bennett
      Deborah Samuels
      Elliot Samuels

Bruce Sundheim v. Smith & Wesson Brands, Inc., et al; 23-2994
      Bruce Sundheim, as Special Administrator of the Estate of Jacqueline Sundheim,
      deceased

Lorena Rebollar Sedano v. Smith & Wesson Brands, Inc., et al; 23-2995
      Lorena Rebollar Sedano

Mirna Rodriguez, et al v. Smith & Wesson Brands, Inc., et al; 23-2996
      Mirna Rodriguez, individually and as parent and next-friend of J.S., K.S., and O.S.
      Oscar Sanchez, individually and as parent and next-friend of J.S., K.S., and O.S.
Sylvia Vergara, et al v. Smith & Wesson Brands, Inc., et al; 23-2997
       Lizet Montez
       Gabriela Vergara
       Sylvia Vergara
Michael Zeifert, et al v. Smith & Wesson Brands, Inc., et al; 23-2998
      Christine Zeifert, individually and as parent and next-friend of B.R.Z., B.M.Z., K.Z., and
      L.Z.
      Michael Zeifert, individually and as parent and next-friend of B.R.Z., B.M.Z., K.Z., and
      L.Z.

Peter Straus, et al v. Smith & Wesson Brands, Inc., et al; 23-3000
       Jonathan Straus, as Co-Administrators of the Estate of Stephen Straus, deceased
Peter Straus, as Co-Administrators of the Estate of Stephen Straus, deceased

Ricardo Toledo, et al v. Smith & Wesson Brands, Inc., et al; 23-3001
      Alejo Toledo Josefina
      Toledo Petra Toledo
      Ricardo Toledo, individually and as Special Administrator of the Estate of Nicolas
      Toledo, deceased
         Case: 23-2992
         Case: 23-2994       Document: 29
                             Document: 9-2          Filed:01/23/2024
                                                   Filed:  11/16/2023       Pages:91
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Amelia Tenorio, et al v. Smith & Wesson Brands, Inc., et al; 23-3003
      Antonio Melgar, individually and as parent and next-friend of C.M.
Amelia Tenorio, individually and as parent and next-friend of C.M.
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                                                   Document:  8                    Filed: 01/23/2024
                                                                                   Filed: 11/10/2023               Pages: 91
                                                                                                                   Pages: 3
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 23-2992
                    _______________

               Keely Roberts, et al v. Smith & Wesson Brands, Inc., et al
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
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(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          see Exhibit 1
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          Everytown Law; Paul, Weiss, Rifkind, Wharton & Garrison LLP; Hunt Law, P.C.; and Romanucci & Blandin, LLC
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    n/a
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    n/a
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          n/a
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          n/a
          ________________________________________________________________________________________________________



                      s/Alla Lefkowitz
Attorney’s Signature: ________________________________________       11/10/2023
                                                               Date: ________________________________________

                         Alla Lefkowitz
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         P.O. Box 14780, Washington, DC 20044
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________

              (202) 545-3257
Phone Number: ________________________________________             (917) 410-6932
                                                       Fax Number: ______________________________________

                alefkowitz@everytown.org
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
          Case:23-2992
         Case:  23-2992       Document:29
                             Document:  8            Filed: 01/23/2024
                                                     Filed: 11/10/2023      Pages: 91
                                                                            Pages: 3


                                           Exhibit 1
                           Every Party Alla Lefkowitz is Representing

Keely Roberts, et al v. Smith & Wesson Brands, Inc., et al; 23-2992
       Jason Roberts, individually and as parent and next friend of C.R. and L.R.
       Keely Roberts, individually and as parent and next friend of C.R. and L.R.

Lauren Bennett, et al v. Smith & Wesson Brands, Inc., et al; 23-2993
      Jeffrey Bennett
      Lauren Bennett
      Michael Bennett
      Terri E. Bennett
      Deborah Samuels
      Elliot Samuels

Bruce Sundheim v. Smith & Wesson Brands, Inc., et al; 23-2994
      Bruce Sundheim, as Special Administrator of the Estate of Jacqueline Sundheim,
      deceased

Lorena Rebollar Sedano v. Smith & Wesson Brands, Inc., et al; 23-2995
      Lorena Rebollar Sedano

Mirna Rodriguez, et al v. Smith & Wesson Brands, Inc., et al; 23-2996
      Mirna Rodriguez, individually and as parent and next-friend of J.S., K.S., and O.S.
      Oscar Sanchez, individually and as parent and next-friend of J.S., K.S., and O.S.

Sylvia Vergara, et al v. Smith & Wesson Brands, Inc., et al; 23-2997
       Lizet Montez
       Gabriela Vergara
       Sylvia Vergara

Michael Zeifert, et al v. Smith & Wesson Brands, Inc., et al; 23-2998
      Christine Zeifert, individually and as parent and next-friend of B.R.Z., B.M.Z., K.Z., and
      L.Z.
      Michael Zeifert, individually and as parent and next-friend of B.R.Z., B.M.Z., K.Z., and
      L.Z.

Peter Straus, et al v. Smith & Wesson Brands, Inc., et al; 23-3000
       Jonathan Straus, as Co-Administrators of the Estate of Stephen Straus, deceased
       Peter Straus, as Co-Administrators of the Estate of Stephen Straus, deceased
         Case:23-2992
        Case:  23-2992        Document:29
                             Document:  8           Filed: 01/23/2024
                                                    Filed: 11/10/2023      Pages: 91
                                                                           Pages: 3




Ricardo Toledo, et al v. Smith & Wesson Brands, Inc., et al; 23-3001
      Alejo Toledo
      Josefina Toledo
      Petra Toledo
      Ricardo Toledo, individually and as Special Administrator of the Estate of Nicolas
      Toledo, deceased

Amelia Tenorio, et al v. Smith & Wesson Brands, Inc., et al; 23-3003
      Antonio Melgar, individually and as parent and next-friend of C.M.
      Amelia Tenorio, individually and as parent and next-friend of C.M.
Case:23-2992
Case: 23-2992   Document:29
                Document: 24   Filed:01/23/2024
                               Filed: 01/21/2024   Pages:91
                                                   Pages: 1
Case:23-2992
Case: 23-2993   Document:29
                Document: 24   Filed:01/23/2024
                               Filed: 01/23/2024   Pages:91
                                                   Pages: 1
Case:23-2992
Case: 23-2992   Document:29
                Document: 21   Filed:01/23/2024
                               Filed: 01/09/2024   Pages:91
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                      Case:23-2992
                      Case: 23-2999                Document:29
                                                   Document: 10                    Filed:01/23/2024
                                                                                   Filed: 11/16/2023               Pages:91
                                                                                                                   Pages: 1
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _______________
                    23-2999; 23-3002

Short Caption: _________________________________________________________________________________________
               Elizabeth Turnipseed v. Smith & Wesson Brands, Inc., et al.

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N/A for any information that is not applicable if this form is used.


          •
          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          ________________________________________________________________________________________________________
           Elizabeth Turnipseed; Joshua Chupack

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          ________________________________________________________________________________________________________
           Dentons US LLP, Edelson PC, Brady United

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    ________________________________________________________________________________________________
                     N/A

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    ________________________________________________________________________________________________
                     N/A

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________
           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________
          N/A



Attorney’s Signature: ________________________________________
                      /s/ J. Eli Wade-Scott                    Date: ________________________________________
                                                                     November 16, 2023

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                                    INTRODUCTION

       On the morning of July 4, 2022, as in so many years past, hundreds of families at-

tended the Fourth of July parade in Highland Park, Illinois. Only 20 minutes into the fes-

tivities, a man perched on the roof of a local store fired 83 bullets into the crowd from his

Smith & Wesson Military and Police (“M&P”) 15 semi-automatic rifle. The massacre lasted

just one minute, but left seven people dead, dozens more injured, and an entire community

in mourning. Plaintiffs are among those grievously harmed.

       Facing untold years dealing with serious physical and psychological injuries, the

enormous costs associated with medical treatment, rehabilitation, and recovery, and in

some cases, lifetimes without their beloved family members, Plaintiffs brought claims in

Illinois state court for violations of Illinois consumer protection statutes by Defendants-

Appellants Smith & Wesson Brands, Inc., Smith & Wesson Sales Company, and Smith &

Wesson, Inc. (together, “Smith & Wesson”) for their deceptive and unfair marketing, as

well as violations of Illinois state tort law by Smith & Wesson and other defendants. In

response, Smith & Wesson removed these cases to federal court, relying on a contorted

reading of Plaintiffs’ claims and a disingenuous description of its relationship with the Bu-

reau of Alcohol, Tobacco, Firearms and Explosives (“ATF”).

       Now, more than a year later, Plaintiffs are still waiting for their day in state court

because Smith & Wesson continues to baselessly attempt to manufacture federal jurisdic-

tion when none exists. Smith & Wesson’s removal of Plaintiffs’ complaints to federal court

is nothing more than a ploy to delay the proceedings and avoid litigating in state court.



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Smith & Wesson argues that the complaints are subject to federal-officer jurisdiction and

federal-question jurisdiction, and that the artful pleading doctrine and complete preemp-

tion apply to confer federal jurisdiction. All of these arguments are unfounded. Smith &

Wesson is a private company, not a federal officer, and as a matter of established law cannot

credibly claim to have been “acting under” a federal officer in aggressively promoting de-

ceptive and unfair marketing campaigns for its firearms to private citizens. Smith & Wes-

son’s attempts to create federal-question jurisdiction and implicate the artful pleading doc-

trine or a preemption issue are similarly untenable.

       The source of Plaintiffs’ injuries—the shooting at the 2022 Fourth of July Parade in

Highland Park—took place in Illinois, injured Illinois residents, and was the result of nu-

merous violations of Illinois law. Plaintiffs’ claims arise exclusively under Illinois law, and

Plaintiffs do not advance claims under any federal law. Neither the National Firearms Act

(“Firearms Act”) nor the Administrative Procedure Act creates a private right of action

that displaces Plaintiffs’ state-law claims, and therefore cannot operate to completely

preempt them. Nor are Plaintiffs attempting to overturn a federal “administrative decision”

about the rifle at issue—no such decision or judgment exists. Plaintiffs therefore moved to

remand the cases to state court on December 7, 2022.

       On September 25, 2023, U.S. District Judge Seeger issued a detailed order granting

Plaintiffs’ motions and properly remanded the cases to state court—just as federal courts

have done in similar actions when private corporations advanced similarly baseless juris-

dictional arguments. Citing established precedent from the Supreme Court, this Court, and



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other Circuits, the district court thoroughly rejected each of Smith & Wesson’s attempts to

establish federal jurisdiction. Simply put, there is no federal jurisdiction on any ground, and

Plaintiffs are entitled to litigate their state-law claims in state court.

       The district court’s order should be affirmed.




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                            STATEMENT OF JURISDICTION

       Smith & Wesson’s jurisdictional statement is not complete or correct.

       The district court did not have subject-matter jurisdiction over the 12 consolidated

cases at issue in this appeal, but it did have jurisdiction to determine its own jurisdiction.

See Brownback v. King, 141 S. Ct. 740, 750 (2021) (“[A] federal court always has jurisdiction

to determine its own jurisdiction[.]”). After determining that subject-matter jurisdiction

was lacking, the district court entered an order remanding these actions to state court on

September 25, 2023. Smith & Wesson filed notices of appeal from the remand order in each

case on October 16, 2023.

       This Court has jurisdiction to hear these appeals pursuant to 28 U.S.C. § 1447(d)

because one of Smith & Wesson’s claimed bases for federal jurisdiction in each of the con-

solidated cases was 28 U.S.C. § 1442(a)(1). See BP P.L.C. v. Mayor & City Council of Balt.,

141 S. Ct. 1532, 1542-43 (2021); Lu Junhong v. Boeing Co., 792 F.3d 805, 813 (7th Cir. 2015).




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                             STATEMENT OF THE ISSUES

       1.     Whether the district court correctly determined that it lacked subject-matter

jurisdiction under the federal-officer removal statute, 28 U.S.C. § 1442, because Smith &

Wesson was not “acting under” federal authority with respect to the conduct challenged in

Plaintiffs’ complaints.

       2.     Whether the district court correctly determined that it lacked federal-ques-

tion jurisdiction under 28 U.S.C. § 1331 based on an embedded federal question under Gra-

ble & Sons Metal Products., Inc. v. Darue Engineering & Manufacturing, 545 U.S. 308

(2005), because no substantial, disputed issue of federal law is necessarily raised in Plain-

tiffs’ complaints.

       3.     Whether the district court correctly determined that it lacked federal-ques-

tion jurisdiction under 28 U.S.C. § 1331 based on the artful pleading doctrine.

       4.     Whether the district court correctly determined that Plaintiffs’ claims are not

preempted by federal regulations or statutes.

       5.     Whether Smith & Wesson’s failure to obtain consent from all Defendants also

foreclosed removal.




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                              STATEMENT OF THE CASE

       A.     Plaintiffs Were Harmed by the Tragic Shooting in Highland Park, Illi-
              nois

       This appeal arises out of twelve substantially similar state-court cases filed following

the tragic and deadly shooting in Highland Park, on July 4, 2022. Plaintiffs are victims of

the shooting and their family members. They include individuals who were shot on that

Fourth of July or who watched as their loved ones were wounded that day. C.R., an eight-

year-old boy, was shot in the back, paralyzing him below the waist and changing his life

forever. SA-2–3 (Roberts Compl. 1 (hereafter referred to as the “Complaint”) ¶ 5). His

brother L.R. was hit with shrapnel, and their mother, Keely Roberts, was shot in the foot.

SA-7 (Complaint ¶¶ 19, 149). Elizabeth Turnipseed was shot in her pelvis while standing

next to her husband and three-year-old child. SA-73 (Turnipseed Compl. 2 ¶ 3). Sylvia Ver-

gara, who found cover but then ran back into the gunfire to rescue her family members,

was shot in the leg. Vergara Compl. 3 ¶ 2. Michael Zeifert, lying on top of his children to

shield them, was shot in the chest. Zeifert Compl. 4 ¶ 2. Nicolas Toledo, visiting his family




1
    See Complaint, Roberts v. Smith & Wesson Brands, Inc., No. 22-cv-6169 (Dkt. No. 1-2)
    (“Roberts Complaint”).
2
    See Complaint, Turnipseed v. Smith & Wesson Brands, Inc., No. 22-cv-6359 (Dkt. No.
    1-2) (“Turnipseed Complaint”).
3
    See Complaint, Vergara v. Smith & Wesson Brands, Inc., No. 22-cv-6190 (Dkt. No. 1-2)
    (“Vergara Complaint”).
4
    See Complaint, Zeifert v. Smith & Wesson Brands, Inc., No. 22-cv-6193 (Dkt. No. 1-2) (
    “Zeifert Complaint”).


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for the holiday, was shot and killed. Toledo Compl. 5 ¶ 16. Other Plaintiffs sustained similarly

serious injuries or lost their lives.

       B.      Plaintiffs Filed Their State-Law Claims in State Court

       On September 27 and 28, 2022, Plaintiffs filed lawsuits in Illinois state court. 6 Plain-

tiffs’ complaints assert quintessential state-law claims against Smith & Wesson, a firearm

manufacturer whose products are sold across the nation, and which manufactured the M&P

rifle that was used in the Highland Park shooting. E.g., S.A. 7–9 (Compl. ¶¶ 3, 5–9); S.A. 85

(Turnipseed Compl. ¶ 40). 7 Plaintiffs also raise certain state-law claims against other de-

fendants—Budsgunshop.com, LLC, Red Dot Arms, Inc., Robert Crimo Jr., and Robert

Crimo, III (the “Shooter”)—which are not at issue here. 8 Plaintiffs do not advance claims



5
    See Complaint, Toledo v. Smith & Wesson Brands, Inc., No. 22-cv-6191 (Dkt. No. 1-2)
    (“Toledo Complaint”).
6
    See Roberts Complaint; Turnipseed Complaint; Vergara Complaint; Zeifert Com-
    plaint; Complaint, Tenorio v. Smith & Wesson Brands, Inc., No. 22-cv-6186 (Dkt. No.
    1-2); Complaint, Bennett v. Smith & Wesson Brands, Inc., No. 22-cv-6171 (Dkt. No. 1-
    2); Complaint, Rodriguez v. Smith & Wesson Brands, Inc., No. 22-cv-6185; Complaint,
    Sedano v. Smith & Wesson Brands, Inc., No. 22-cv-6183 (Dkt. No. 1-2); Complaint,
    Straus ex rel. Straus v. Smith & Wesson Brands, Inc., No. 22-cv-6181 (Dkt. No. 1-2);
    Complaint, Sundheim ex rel. Sundheim v. Smith & Wesson Brands, Inc., No. 22-cv-
    6178 (Dkt. No. 1-2); Complaint, Chupack v. Smith & Wesson Brands, Inc., No. 22-cv-
    6361 (Dkt. No. 1-2).
7
    Upon Smith & Wesson’s removal of all twelve cases to federal district court, Judge See-
    ger consolidated the cases and designated the Roberts case as the lead case. No. 22-cv-
    6169 (Dkt. No. 30). In its order to remand, the district court analyzed and cited to the
    Roberts Complaint. See, e.g., A-3. As such, references in this brief to the “Complaint” in
    the singular refer to the Roberts Complaint.
8
    See, e.g., Complaint ¶¶ 246–68 (Count V – Negligence as to Budsgunshop.com, LLC and
    Red Dot Arms, Inc.); ¶¶ 269–84 (Count VI – Aiding & Abetting as to Budsgunshop.com,
    LLC and Red Dot Arms, Inc.); ¶¶ 285–303 (Count VII – Negligence as to Robert Crimo

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under any federal statute, nor do they challenge any federal regulations or administrative

decisions.

       Among other things, Plaintiffs allege that, for years, Smith & Wesson has engaged

in deceptive and unfair marketing in violation of Illinois consumer protection laws by tar-

geting advertising for its assault rifles toward impulsive, risk-taking civilian young men and

creating advertisements in the style of first-person shooter video games to appeal to young

men’s adrenaline-seeking propensities. Smith & Wesson also misleadingly markets its

M&P rifles as closely associated with and/or endorsed by the military and law enforcement.

S.A. 19–23 (Compl. ¶¶ 68–80). Plaintiffs have alleged that such marketing was a substantial

and foreseeable factor leading to the mass shooting in which Plaintiffs were injured. A-34.

Plaintiffs also allege that Smith & Wesson negligently marketed its firearms, and they as-

sert claims for intentional and negligent infliction of emotional distress against all defend-

ants, including Smith & Wesson. A-41-43. Plaintiffs seek judgment, compensation, and

other appropriate relief for all of these harms.

       C.     Smith & Wesson Removed the Cases to Federal Court

       Smith & Wesson removed all twelve cases to federal court, asserting four grounds

for federal jurisdiction: (1) 28 U.S.C. § 1442(a) federal-officer jurisdiction, because Smith &

Wesson operated as a federal officer by virtue of a purported “partnership between firearm




   Jr.); ¶¶ 304–10 (Count VIII – Battery as to Robert Crimo III); ¶¶ 311–18 (Count IX –
   Assault as to Robert Crimo III).


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manufacturers and the ATF”; (2) 28 U.S.C. § 1331 federal-question jurisdiction, as Plain-

tiffs’ claims necessarily raise disputed and substantial issues of federal law that must be

adjudicated in a federal forum; (3) the artful pleading doctrine justifies removal; and

(4) Plaintiffs’ claims are completely preempted by a combination of the Administrative Pro-

cedure Act and the National Firearms Act. See A-9.

       D.     The District Court Granted Plaintiffs’ Motions to Remand

       Plaintiffs in all twelve state-court actions timely moved to remand. A-2. The district

court consolidated the cases for purposes of resolving the motions. A-7.

       On September 25, 2023, the district court granted the consolidated motion to re-

mand. A-2. The district court rejected each of Smith & Wesson’s arguments, finding that:

(1) there was no federal-officer jurisdiction under Section 1442(a) because Smith & Wesson

was not acting under a federal officer in complying with certain federal agency require-

ments; (2) there was no federal-question jurisdiction under § 1331 because Plaintiffs’ state-

law claims do not necessarily raise a federal issue; (3) the artful pleading doctrine did not

apply because Plaintiffs’ claims are not federal claims in “disguise”; and (4) Plaintiffs’ claims

were not completely preempted because the Firearms Act does not create a private right

of action and does not include a clear congressional intent to completely preempt state law.

A-21, A-43, A-51.

       Smith & Wesson now appeals.




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                              SUMMARY OF ARGUMENT

       Smith & Wesson’s argument for federal jurisdiction is based on a wholesale—and

disingenuous—rewriting of Plaintiffs’ complaints. The Court should not credit Smith &

Wesson’s revisionist history. Plaintiffs’ complaints assert classic state-law claims, not fed-

eral claims. Smith & Wesson nevertheless attempted to fabricate a basis for federal juris-

diction out of the complaints’ sparse references to the Firearms Act. 9 Plaintiffs’ allegations

that Smith & Wesson violated the Firearms Act are not fundamental to Plaintiffs’ claims.

Smith & Wesson can be found to have violated one or more Illinois consumer protection

statutes, and to have violated one or more duties of care with or without a finding that Smith

& Wesson violated the Firearms Act. Accordingly, the district court properly rejected

Smith & Wesson’s effort to recast Plaintiffs’ state-law claims as implicating issues of federal

law.

       First, the district court lacked federal-officer jurisdiction under 28 U.S.C. § 1442(a).

Private companies seeking removal under § 1442 bear a “special burden” to establish that

the conduct that caused Plaintiffs’ injuries was mandated by a federal officer’s “subjection,

guidance, or control.” Watson v. Philip Morris Cos., 551 U.S. 142, 151 (2007). None of the

interactions with the federal government on which Smith & Wesson relies even approaches


9
    Of the more than 300 paragraphs in the Roberts Complaint, just fourteen (only nine of
    which are unique) mention the Firearms Act. SA-45 (Compl. ¶¶ 168, 174), SA-48 (Compl.
    ¶¶ 189–191), SA-52 (Compl. ¶¶ 212–14), SA-55 (Compl. ¶ 238), SA-56 (Compl. ¶ 240–41),
    SA-59 (Compl. ¶¶ 261, 263–64). The Turnipseed Complaint includes only eleven para-
    graphs that mention the Firearms Act. SA-96 (Compl. ¶¶ 87, 89), SA-97 (Compl. ¶ 92),
    SA-113-15 (Compl. ¶¶ 174–75, 184, 186–87), SA-117 (Compl. ¶¶ 203, 205-06), SA-118
    (Compl. ¶ 206).


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the “unusually close” oversight necessary to trigger federal jurisdiction. Id. at 153. Further,

Smith & Wesson’s actions that caused Plaintiffs’ injuries were not controlled or directed by

federal officers. Smith & Wesson’s core contention that simply abiding by a federal regula-

tory scheme or engaging with a federal agency qualifies it as an agent of the federal gov-

ernment is precluded under Watson.

       Second, the district court lacked federal-question jurisdiction pursuant to 28 U.S.C.

§ 1331 under Grable, 545 U.S. at 313-14. No substantial federal issues are necessarily raised

or actually disputed in Plaintiffs’ complaints, and stripping the state courts of jurisdiction

over the claims asserted here would disrupt the federal-state balance established by Con-

gress. See Grable, 545 U.S. at 314.

       Third, the artful pleading doctrine cannot supply federal jurisdiction here. The art-

ful pleading doctrine applies only where a plaintiff has “disguised” federal claims as state-

law claims. But Plaintiffs bring straightforward claims for Smith & Wesson’s violation of

Illinois state statutes and Illinois common law. This case does not present federal claims or

necessarily raise any federal issue, and Plaintiffs’ claims are not federal claims in disguise.

       Fourth, Plaintiffs’ claims are not completely preempted by the Firearms Act or Ad-

ministrative Procedure Act. No court anywhere has held that the Firearms Act completely

preempts state law or that the Firearms Act and Administrative Procedure Act work in

concert to do so. The text and structure of the statutes confirm that Congress did not intend

for them to preempt state law.




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       Fifth, Smith & Wesson is not permitted to remove Plaintiffs’ complaints on federal-

question grounds because Smith & Wesson failed to obtain the consent of all defendants for

removal, as required under 28 U.S.C. § 1441.

       The Court should affirm the district court’s decision.

                                       ARGUMENT

I.     The District Court Correctly Rejected Federal-Officer Removal

       While remand orders are not ordinarily appealable, Smith & Wesson manufactured

an appeal right here by making a baseless assertion that it is a federal officer. “Federal

officer removal is proper when the defendant (1) is a person within the meaning of the stat-

ute, (2) is acting under the United States, its agencies, or its officers, (3) is acting under

color of federal authority, and (4) has a colorable federal defense.” Betzner v. Boeing Co.,

910 F.3d 1010, 1015 (7th Cir. 2018). All four elements are “requirements” for federal juris-

diction under 28 U.S.C. § 1442(a). Ruppel v. CBS Corp., 701 F.3d 1176, 1180 (7th Cir. 2012).

       Smith & Wesson fails to demonstrate that it meets the second required element, and

thus the inquiry ends. Its contention in support of jurisdiction boils down to one that this

Court and the Supreme Court have uniformly rejected: that it is a federal officer because it

follows federal regulations. But a private company does not “act under” a federal agency or

officer by adhering to federal regulations. And, even if compliance with federal regulations

provided a basis for federal-officer removal in general, Smith & Wesson was not “acting

under” a federal officer or agent in specific regards to the marketing and advertising activ-

ities to private consumers that form the basis of the complaints. In fact, Smith & Wesson



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does not point to any federal regulation targeting its marketing or advertising activities

because no such regulation exists. The main “regulation” that Smith & Wesson points to is,

in fact, a classification letter written to a different gun company (Colt) about a different gun

(Model R6000, the AR-15 Sporter) in the 1960s unrelated to advertising or marketing. Con-

trary to Smith & Wesson’s contention, there is no reason to believe that a decision in this

case will have any impact on the federal government’s ability to regulate firearms. Because

Smith & Wesson’s assertion of federal-officer jurisdiction lacks any legal or factual under-

pinning, it should be rejected.

       A.     Regulated Businesses Are Not Federal Officers

       Smith & Wesson’s primary argument is that its participation in a so-called “federal

firearms partnership” with the ATF is the equivalent of “acting under” a federal agency.

App. Br. at 19. But when Smith & Wesson explains the nature of this relationship, it says

merely that “[c]ertain government functions are delegated to manufacturers (e.g., tracing

crime guns, collecting certain taxes, and maintaining registration and transfer records).”

Id. at 19–20. According to Smith & Wesson, those functions mean that it was acting as a

federal officer when it advertised the deadly weapon that harmed Plaintiffs.

       Most obviously, those purported government functions do not control how Smith &

Wesson marketed and advertised its M&P 15 rifle. Plaintiffs’ complaints allege violations

of state consumer protection statutes and negligence based on Smith & Wesson’s deceptive

marketing practices. Smith & Wesson does not argue that its marketing and advertising




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practices were “delegated government functions”—nor could it. The concept of “acting un-

der” in the federal-officer statute is designed to “cover[] situations . . . where the federal

government uses a private corporation to achieve an end it would have otherwise used its

own agents to complete.” Ruppel, 701 F.3d at 1181. The federal government is not using

Smith & Wesson to advertise, market, or sell firearms to private citizens, and if Smith &

Wesson did not do so, federal government agents would not.

       Setting aside that Smith & Wesson cannot connect these purportedly “delegated”

functions to the underlying conduct at issue in this case, those functions are insufficient to

create federal-officer jurisdiction anyway. “Delegation” in the federal officer context re-

quires more than a manufacturer in a heavily regulated industry determining how it would

comply with those regulations. See Lu Junhong, 792 F.3d at 810. Smith & Wesson does not

allege (because it cannot) that it has the power “to make rules”—it only “interpret[s] and

appl[ies]” the ATF’s rules “as best as it can.” Id. Nor does Smith & Wesson suggest that it

is involved in building or making something that the government needs via a government

contract or otherwise. See, e.g., Ruppel, 701 F.3d at 1181 (“[The private entity] worked

hand-in-hand with the government, assisting the federal government in building war-

ships.”); Betzner, 910 F.3d at 1015 (plaintiff worked for government contractor that “man-

ufacture[d] heavy bomber aircraft for the United States Air Force,” “act[ing] under the

military’s detailed and ongoing control”).

       Instead, Smith & Wesson identifies a federal statute and corresponding regulations

that it has to comply with. App. Br. at 19–20. But “it has been understood for a long time



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that regulation does not turn a private entity into a public actor,” Martin v. Petersen Health

Operations, LLC, 37 F.4th 1210, 1212–13 (7th Cir. 2022), and that “the help or assistance

necessary to bring a private person within the scope of the statute does not include simply

complying with the law,” Watson, 551 U.S. at 152 (emphasis in original). “[T]hat is so even

if the regulation is highly detailed and even if the private firm’s activities are highly super-

vised and monitored.” Id. at 153.

       The federal statutes and regulations that Smith & Wesson identifies do not make

anyone into a federal officer. App. Br. at 20 (identifying 18 U.S.C. § 923(g)(1)(A) and

27 C.F.R. §§ 478.123–478.125 as functions delegated to manufacturers). They are statutes

and regulations setting out recordkeeping rules that firearms manufacturers must follow.

See, e.g., 18 U.S.C. § 923(g)(1)(A) (requiring licensed firearms manufacturers to “maintain

such records of important, production, shipment, receipt, sale or other disposition of fire-

arms at his place of business for such period, and in such form, as the Attorney General

may by regulations prescribe.”). This Court and the Supreme Court have conclusively re-

jected similar attempts to transform a regulated entity into a government actor for the

purpose of manufacturing federal-officer jurisdiction. See, e.g., Watson, 551 U.S. at 152

(“Taxpayers who fill out complex federal tax forms, airline passengers who obey federal

regulations prohibiting smoking, for that matter well-behaved federal prisoners, all ‘help’

or ‘assist’ federal law enforcement authorities in some sense of those words. But that is not

the sense of “help” or ‘assist’ that can bring a private action within the scope of this stat-




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ute.”); Lu Junhong, 792 F.3d at 809 (explaining that safety inspection and certification re-

quirements imposed on airplane manufacturers do not make regulated entities federal of-

ficers, even if manufacturer’s employees conduct required inspections and certify compli-

ance); Martin, 37 F.4th at 1212–13 (rejecting assertion that federal regulation of nursing

home during COVID-19 pandemic turned nursing home into federal officer).

       The wealth of binding authority on this point leaves Smith & Wesson with little more

to lean on than the ATF’s use of the word “partnership” to describe the relationship be-

tween firearm manufacturers and the agency. However, the ATF used that term in a nearly

20-year-old letter warning federal firearms licensees about the “need to comply with all

Federal laws and regulations that govern your firearms business.” A-19–20. In other

words: the purported partnership has precisely the set of characteristics courts have found

insufficient to demonstrate that an entity is a federal officer, even if “sometimes an English

speaker might say that one who complies with the law ‘helps’ or ‘assists’ governmental law

enforcement.” See Watson, 551 U.S. at 152. The ATF’s use of the word “partnership” was

no more than a figure of speech, and “[a] figure of speech does not make someone a federal

officer or a person ‘acting under’ one.” Lu Junhong, 792 F.3d at 808-09.

       In sum, “[w]hat is true about cigarette and airframe manufacturers is true about

nursing homes” and is true about firearms manufacturers: “Private firms retain their pri-

vate character even when many aspects of their conduct are controlled by federal statutes




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and rules.” Martin, 37 F.4th at 1213. Smith & Wesson’s assertion of federal-officer juris-

diction based on the regulations it is required to comply with amounts to nothing more than

a rehash of this long-rejected premise.

       B.     There Is No “Federal Interests” Exception to the Statutory Require-
              ments Governing Federal-Officer Jurisdiction

       For the first time on appeal, Smith & Wesson concocts a new theory that federal-

officer removal is justified here because of the “enormous federal interests implicated by

[Plaintiffs’] allegations.” App. Br. at 21. It argues that Plaintiffs’ claims should be deemed

to have been asserted “against or directed to” the ATF because one theory asserted in

Plaintiffs’ Complaint involves allegations regarding the classification of the M&P 15 rifle

under federal law. Id. at 21-22. That argument is flawed at every turn.

       As an initial matter, this is a thinly veiled attempt to muddy the waters and import

federal question removal justifications into the federal-officer removal inquiry, despite the

fact that federal-officer removal does not turn on such other justifications. As discussed in

Section II.B.2, infra, Plaintiffs’ claims do not depend upon resolution of a substantial ques-

tion of federal law (as required for federal-question jurisdiction to exist under Grable), and

they are not preempted by federal law (as required for application of the complete preemp-

tion doctrine).

       The point of the federal-officer statute is to permit removal of a case that would oth-

erwise not be removable if the statutory requirements are met. See Ruppel, 701 F.3d at

1180. If a private defendant cannot show the appropriate relationship to demonstrate that

it is “acting under a federal officer or agency,” then the statutory requirements are not met,


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and it is irrelevant to the federal-officer inquiry whether federal interests or regulations

are involved in the case. See Watson, 551 U.S. at 151-52 (alterations and quotation marks

omitted); see also Lu Junhong, 792 F.3d at 809 (“[I]f following federal rules allowed litiga-

tion in federal court, then all food and drug suits, and many others too, would be remova-

ble.”). 10

         Even if the legal argument were somehow valid, it falls apart on the facts. Smith &

Wesson argues that federal-officer removal exists because Plaintiffs’ claims are a “vehicle

to challenge an administrative decision” by the ATF. App. Br. at 13. Its argument depends

on the premise that the ATF made an administrative judgment that the M&P 15 rifle is not

10
     The existence of a federal defense is relevant to the federal-officer jurisdiction statute
     because “it is the raising of a federal question in the officer’s removal petition that con-
     stitutes the federal law under which the action against the federal officer arises for Art.
     III purposes.” Mesa v. California, 489 U.S. 121, 136 (1989). That does nothing to change
     the “the central and grave concern of the statute,” which “is that a Federal officer or
     agent shall not be forced to answer for conduct assertedly within his duties in any but a
     Federal forum.” State of Wis. v. Schaffer, 565 F.2d 961, 963–64 (7th Cir. 1977). The cases
     that Smith & Wesson relies upon do not replace this long-standing purpose with a more
     generalized rule about avoiding interference with federal regulations. Rather, the vast
     majority of these suits are against actual federal officers. See id. at 962 (subpoena and
     threatened contempt action against U.S. attorney); Dugan v. Rank, 372 U.S. 609, 610–
     11, 615 (1963) (suit against officials of the U.S. Department of the Interior); Nationwide
     Invs. v. Miller, 793 F.2d 1044, 1045 (9th Cir. 1986) (compelled testimony with threat of
     contempt of federal officer); Willingham v. Morgan, 395 U.S. 402, 403 (1969) (suit
     against warden of federal prison); Arizona v. Manypenny, 451 U.S. 232, 234-35 (1981)
     (criminal prosecution of Border Patrol Agent in the U.S. Immigration and Naturaliza-
     tion Service); Cook v. Peter Kiewit Sons Co., 775 F.2d 1030, 1032–34 (9th Cir. 1985) (suit
     against attorney representing United States); Bosaw v. Nat’l Treasury Emps’ Union,
     887 F. Supp. 1199, 1207-08 (S.D. Ind. 1995) (subpoena against IRS officers); Ferrell v.
     Yarberry, 848 F. Supp. 121, 123 (E.D. Ark. 1994) (subpoena for testimony of U.S. De-
     partment of Agriculture employees). And another—a suit against a state entity related
     to actions it took to support a federal agency in an investigation as required by federal
     law—involves actions taken at the direct behest of a federal agency. Miami Herald Me-
     dia Co. v. Fl. Dep’t of Transp., 345 F. Supp. 3d 1349, 1356 (N.D. Fla. 2018).


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a machinegun and that Plaintiffs are necessarily trying to challenge that judgment. The

rest of its arguments about supposed interference with the functions of the ATF rely on the

premise that the ATF has, in fact, officially ruled on this topic.

        In fact, the ATF has never issued an administrative decision on whether the M&P

15 is a machinegun. And the only evidence Smith & Wesson offers of an administrative

decision is a letter written by ATF’s predecessor agency in December 1963sixty years

agoaddressed to Colt, a different firearms manufacturing company, evaluating a proto-

type of a different AR-15 style weapon. See App. Br. at 22 (citing Dkt. 48-7 (“Colt Letter”)).

The Colt Letter evaluates specifications of that specific firearm, namely the location of pivot

pin holes in the upper and lower receiver. Colt Letter at 4. It concludes with a classification

determination for that specific firearm—and no other. Id. The Colt Letter does not state

that every AR-15-style weapon is not a machinegun, contrary to Smith & Wesson’s asser-

tion. See App. Br. at 22; see also United States v. Olofson, 563 F.3d 652, 659 (7th Cir. 2009)

(upholding jury verdict that Colt AR-15-style rifle was a machinegun). 11


11
     Smith & Wesson seems not to understand how the ATF determines whether a firearm
     is a machinegun, but the process is quite clear. While “there is no requirement for a
     manufacturer to seek an ATF classification of its product prior to manufacture[,] [n]ev-
     ertheless, a firearms manufacturer is well advised to seek an ATF classification before
     going to the trouble and expense of producing it.” ATF Handbook § 7.2.4 (emphasis
     added); see also Sig Sauer, Inc. v. Brandon, 826 F.3d 598, 599-600 (1st Cir. 2016). The
     onus is on the manufacturer to make sure it is not unintentionally producing a ma-
     chinegun. See ATF Handbook § 7.2.4.1. A classification letter sets forth “the agency’s
     official position concerning the status of the firearms under Federal firearms laws.”
     Brandon, 826 F.3d at 600 (citing ATF Handbook § 7.2.4.1). Only the recipient may rely
     on a classification letter, ATF Handbook § 7.2.4.1. The ATF has not issued a decision
     that speaks to whether the M&P 15 fits the statutory definition of a machinegun—a
     decision that Smith & Wesson is empowered to request.


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         Contrary to Smith & Wesson’s contention, a decision on the merits against Smith &

Wesson regarding its marketing and advertising practices would not interfere with the

ATF’s operations or authority, nor would a judgment for Plaintiffs on their alternative the-

ory about the classification of the M&P rifle impact the validity of the Firearms Act or any

of its implementing regulations. See App. Br. at 15–16. Conspicuously absent from Smith &

Wesson’s brief is an acknowledgment that multiple courts have allowed claims to proceed

where plaintiffs advance the theory that either a Smith & Wesson M&P 15 rifle like the one

at issue here or other AR-15-style firearms were properly classified as machineguns.12

Supp. App. 3–4 (Goldstein v. Earnest, No. 37-2020-00016638-CU-PO-CTL, at 3–4 (Ca. Su-

per. Ct. July 2, 2021), pet. for writ denied (Ca. Ct. App. Sep. 14, 2021)) (involving Smith &

Wesson M&P 15); see also Parsons v. Colt’s Mfg. Co., 2020 WL 1821306, at *11–*16 (D.

Nev. Apr. 10, 2020) (accepting that certain AR-15-style firearms from other manufacturers

may fit federal definition of machineguns), dismissed on other grounds, 499 P.3d 602 (Nev.

2021).

         Reduced to its essence, Smith & Wesson’s second argument in favor of federal-of-

ficer removal is not about federal-officer removal at all. It is an attempt to argue that other

justifications for federal jurisdiction apply, i.e., that Plaintiffs’ cases involve an embedded

federal question or that the field of firearms law has been completely preempted by federal



12
     The complaints, as well as Smith & Wesson’s Opening Brief, use the term of art “NFA
     weapon” and “machinegun” interchangeably. See App. Br at 27. As Smith & Wesson
     notes, “NFA weapon” is a functionally equivalent term to “machinegun.” Id. For the
     sake of clarity and consistency, Plaintiffs use only the term “machinegun” here.


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law. As addressed in Sections II.B and II.D, Smith & Wesson is wrong on the merits of both

of those arguments. And it is wrong that federal-officer removal is justified here.

                                       *       *        *

       The district court found that Smith & Wesson’s federal-officer removal argument

was one that “[f]rom the get-go . . . runs into trouble,” A-15, and ultimately “goes nowhere,”

A-17. This Court should do the same.

II.    The District Court Properly Denied Federal-Question Jurisdiction

       A.     Removal Is Governed by the Well-Pleaded Complaint Rule

       The “presence or absence of federal-question jurisdiction is governed by the ‘well-

pleaded complaint rule,’ which provides that federal jurisdiction exists only when a federal

question is presented on the face of the plaintiff’s properly pleaded complaint.” Caterpillar,

Inc. v. Williams, 482 U.S. 386, 392 (1987). The rule “makes the plaintiff the master of the

claim; he or she may avoid federal jurisdiction by exclusive reliance on state law.” Id. Here,

Plaintiffs, as masters of their claims, have relied on state law and are entitled to the benefit

of that choice.

       Smith & Wesson argues that three exceptions to the well-pleaded complaint rule are

relevant here, but none applies, as explained below.

       First is the “embedded federal question” doctrine under Grable, 545 U.S. 308, which

arises when a substantial federal question is necessarily raised and actually disputed on the

face of the plaintiff’s complaint, and the balance of federal-state responsibility favors the

case being heard in a federal forum. Here, none of Plaintiffs’ well-pleaded state-law claims




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presents “embedded” federal issues, because none requires proof of any federal law issue

as a necessary element. See infra Section II.B; see Grable, 545 U.S. at 313–14; Franchise

Tax Bd. of Cal. v. Constr. Laborers Vacations Tr. for S. Cal., 463 U.S. 1, 13 (1983).

       Second is the “artful pleading doctrine,” sometimes considered an alternate label for

complete preemption, under which a “plaintiff may not frame his action under state law and

omit federal questions that are essential to recovery.” Burda v. M. Ecker Co., 954 F.2d 434,

438 (7th Cir. 1992); see infra Section II.C.

       Third is the doctrine of complete preemption, a rare doctrine that applies only where

state-law claims fall within the scope of federal statutes intended by Congress to displace

all state law completely. See infra Section II.D; Ne. Rural Elec. Membership Corp. v. Wa-

bash Valley Power Ass’n, Inc., 707 F.3d 883, 894 (7th Cir. 2013), as amended (Apr. 29, 2013)

(emphasis added).

       B.     Smith & Wesson Fails to Establish Grable Jurisdiction Based on an Em-
              bedded Federal Question

       Plaintiffs’ complaints assert quintessential state-law causes of action against Smith

& Wesson—statutory consumer fraud claims, and common-law tort claims. Under Grable,

federal jurisdiction exists over a wholly state-law complaint where it contains an “embed-

ded” federal issue that is: “(1) necessarily raised, (2) actually disputed, (3) substantial, and

(4) capable of resolution in federal court without disrupting the federal-state balance ap-

proved by Congress.” Gunn v. Minton, 568 U.S. 251, 258 (2013) (citing Grable, 545 U.S. at

313–14). If the “most one can say is that a question of federal law is lurking in the back-

ground,” state-law claims do not arise under federal law and removal is improper. Buethe


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v. Britt Airlines, Inc., 749 F.2d 1235, 1239 (7th Cir. 1984) (quoting Gully v. First Nat’l Bank,

299 U.S. 109, 117 (1936)). This doctrine applies only to claims that “really and substantially

involv[e] a dispute or controversy respecting the validity, construction or effect of [federal]

law.” Grable, 545 U.S. at 313.

       This category of cases is “special and small.” Gunn, 568 U.S. at 258 (citations omit-

ted). The exercise of Grable jurisdiction is a “rare circumstance” in this Circuit. East Cent.

Ill. Pipe Trades Health & Welfare Fund v. Prather Plumbing & Heating, Inc., 3 F.4th 954,

959 (7th Cir. 2021). As this Court has explained, the “existence of a federal issue” embedded

in a state-law claim “rarely allows removal.” Hartland Lakeside Joint No. 3 Sch. Dist. v.

WEA Ins. Corp., 756 F.3d 1032, 1035 (7th Cir. 2014). Indeed, the “Seventh Circuit has

adopted a narrow interpretation of Grable.” Giles v. Chi. Drum, Inc., 631 F. Supp. 2d 981,

985 (N.D. Ill. 2009).

       Here, Smith & Wesson’s invocation of Grable dramatically overreads the scope of

federal jurisdiction over state-law complaints and misconstrues the relief Plaintiffs seek.

While Smith & Wesson’s failure to meet any one of the Grable factors would require re-

mand, Gunn, 568 U.S. at 258, it meets none of them here.

              1.        No Federal Issue Is Necessarily Raised or Actually Disputed

       Plaintiffs’ complaints do not “necessarily raise” any issue of federal law. “To be ‘nec-

essarily raised’ for purposes of federal-question jurisdiction, the answer to the federal ques-

tion must be an essential element of the state cause of action. If the case can be resolved

without reaching the federal issue, the federal question is not necessarily raised.” 15A



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James W. Moore et al., Moore’s Federal Practice § 103.31(4)(g)(ii) (3d ed. 2022). A state-law

claim raises a federal issue “only if” an issue of federal law must be resolved. Sarauer v.

Int’l Ass’n of Machinists & Aerospace Workers, Dist. No. 10, 966 F.3d 661, 674 (7th Cir.

2020). In other words, it must be “impossible to decide” the state-law claim without deciding

an issue of federal law. Hartland Lakeside, 756 F.3d at 1035. A well-pleaded state-law cause

of action does not “arise under” federal law for removal purposes unless the affirmative

case “will necessarily require application” of federal law such that the plaintiff cannot meet

its prima facie burden without relying on a federal standard. Gunn, 586 U.S. at 258. And if

there is no federal issue “necessarily raised” for purposes of the first Grable factor, then

there is no federal issue “actually disputed” as per the second. As this Court has held, “an

issue not [necessarily] raised cannot be actually disputed.” Webb v. Fin. Indus. Regul.

Auth., Inc., 889 F.3d 853, 861 (7th Cir. 2018).

       Here, Plaintiffs’ state-law causes of action can all be resolved without applying fed-

eral law. As an initial matter, there is no element of Plaintiffs’ claims that makes “[d]eciding

an issue of federal law . . . inescapable.” Hartland Lakeside, 756 F.3d at 1035. Plaintiffs

assert that Smith & Wesson violated Illinois consumer protection laws and acted negli-

gently by engaging in deceptive and unfair marketing practices targeting young men prone

to violence. Those claims and the allegations that support them can be decided by reference

to Illinois state law and do not necessarily present federal issues.

       Moreover, while Plaintiffs’ complaints contain some references to certain federal

standards and allegations that Smith & Wesson violated federal law in the manufacture,



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transfer, and sale of the M&P rifle, these allegations merely serve to supply support for one

of several alternative theories that would satisfy Plaintiffs’ state-law claims. As the district

court noted, “[t]he fact that the complaint points to federal law is not enough to establish

federal question jurisdiction. It depends on the substance of the claims.” A-32 (citing Mer-

rill Lynch v. Manning, 578 U.S. 374, 381 (2016)). And here there is no federal substance to

the claims; “[a] close look at the complaint confirms that the claims do not ‘necessarily raise’

a federal question.’” A-32.

              (a)     Plaintiffs’ Statutory Claims Do Not Necessarily Raise Federal Issues

       Plaintiffs bring statutory claims against Smith & Wesson under the Illinois Con-

sumer Fraud and Deceptive Business Practices Act (“Consumer Fraud Act”), 815 ILCS

505/1, et seq., and under Section 2(a), subparagraphs 2, 5, 7, and 12 of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS 510 (“Deceptive Trade Practices Act”).

       “The elements of a claim under the [Consumer Fraud Act] are: (1) a deceptive or

unfair act or practice by the defendant; (2) the defendant’s intent that the plaintiff rely on

the deceptive or unfair practice; and (3) the unfair or deceptive practice occurred during a

course of conduct involving trade or commerce.” Leszanczuk v. Carrington Mortg. Servs.,

LLC, 21 F.4th 933, 940 (7th Cir. 2021) (citation and quotation marks omitted). “[A] plaintiff

must [also] demonstrate that the defendant’s conduct is the proximate cause of the injury.”

Siegel v. Shell Oil Co., 612 F.3d 932, 935 (7th Cir. 2010).

       As for the Deceptive Trade Practices Act, Section 2(a) provides that “(a) A person

engages in a deceptive trade practice when, in the course of his or her business, vocation,



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or occupation, the person: . . . (2) causes likelihood of confusion or of misunderstanding as

to the source, sponsorship, approval, or certification of goods or services; . . . (5) represents

that goods or services have sponsorship, approval, characteristics, ingredients, uses, bene-

fits, or quantities that they do not have or that a person has a sponsorship, approval, status,

affiliation, or connection that he or she does not have; . . . (7) represents that goods or ser-

vices are of a particular standard, quality, or grade or that goods are a particular style or

model, if they are of another; . . . or (12) engages in any other conduct which similarly cre-

ates a likelihood of confusion or misunderstanding.” 815 Ill. Comp. Stat. Ann. 510/2.

       None of the elements of these prototypical state statutory claims requires applica-

tion or interpretation of federal law. And as the district court properly held, although the

allegations Plaintiffs make in support of their Consumer Fraud Act and Deceptive Trade

Practices Act claims “include[] references to federal law, here and there, . . . [a] jury could

decide the statutory claims without reaching any question of federal law.” A-33.

       In other words, answering a federal question—such as whether Smith & Wesson

violated the Firearms Act—is not “necessary” or unavoidable here, because Plaintiffs’ stat-

utory claims are supported by ample factual allegations unrelated to any federal issue. For

instance, with respect to the unfairness claim under the Consumer Fraud Act, Plaintiffs

allege that (1) “Smith & Wesson sells and promotes its line of assault rifles, which are de-

signed for military and law enforcement personnel, by intentionally and unfairly targeting

the propensity of young men for risk-taking, impulsive behavior”; (2) Smith & Wesson

promised “young civilian men that these assault rifles will offer ‘more adrenaline’”;



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(3) Smith & Wesson “models its marketing videos after first-person shooter games despite

the risk that a certain subset of young men who play these games will want to act them out

in real life”; (4) Smith & Wesson uses “social media posts that harness images and themes

popular among young people like first-person shooter games” and social media “influenc-

ers” to market to “young civilian consumers”; and (5) this “unfair marketing was a substan-

tial and foreseeable factor in causing the Shooter to select and utilize the M&P rifle to try

to live out his obsession with violence.” S.A. 44 (Compl. ¶¶ 161, 163, 164–67).

       Similarly, with respect to Plaintiffs’ claims of deceptive conduct, the complaints al-

lege that: (1) Smith & Wesson “associate[d] its line of M&P rifles with United States mili-

tary personnel to create the false impression that its products were utilized and/or endorsed

by reputable users, and to target a class of consumers at particular risk to use assault rifles

for mass shootings”; and (2) Smith & Wesson’s marketing “impliedly misrepresented and

overstated that the U.S. military endorses or uses Smith & Wesson’s M&P assault rifles,

causing a likelihood of confusion and misunderstanding as to any military sponsorship, use,

or approval of the company’s M&P rifles.” S.A. 47–48, 51 (Compl. ¶¶ 182, 187, 209–11).

       Considering the primacy and breadth of these non-federal allegations, the district

court correctly observed that “[t]he complaint offers many reasons why Smith & Wesson

violated the state statutes, and many of those reasons have nothing to do with federal law.”

A-34. Indeed, “[a] jury doesn’t need to decide a federal question” to resolve Plaintiffs’ stat-

utory claims, “and the mere possibility of addressing federal law is not enough to blaze a

path to the federal courthouse.” Id. (emphasis added). A federal question therefore is not



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embedded in the statutory claims under Grable, because answering a federal question is

not unavoidable.

                (b)    Plaintiffs’ Common-Law Tort Claims Do Not Necessarily Raise Fed-
                       eral Issues

        The analysis is largely the same for Plaintiffs’ common-law tort claims against Smith

& Wesson for negligence and for negligent and intentional infliction of emotional distress.

        The elements of a negligence claim are familiar: “a duty of care owed by the defend-

ant to the plaintiff, breach of that duty, and an injury proximately caused by that breach.”

Simpkins v. CSX Transp., Inc., 2012 IL 110662, ¶ 14 (citation omitted). And the elements

of an intentional infliction of emotional distress claim under Illinois law are: (1) the defend-

ant’s conduct was in fact extreme and outrageous; (2) the defendant intended to cause se-

vere emotional distress or know that there was a high probability that his conduct would do

so; and (3) the conduct in fact caused severe emotional distress. Cairel v. Alderden, 821 F.3d

823, 835 (7th Cir. 2016) (citing Feltmeier v. Feltmeier, 798 N.E.2d 75, 80 (Ill. 2003)). 13 “To

qualify as outrageous, the conduct must be so extreme as to go beyond all possible bounds

of decency and be regarded as intolerable in a civilized society.” Trahanas v. Nw. Univ., 64

F.4th 842, 859 (7th Cir. 2023) (quotation marks omitted).

        As with Plaintiffs’ statutory claims, none of the elements of Plaintiffs’ common-law

tort claims “necessarily” requires application or interpretation of federal law, and Plaintiffs’



13
     A negligent infliction of emotional distress claim is a negligence claim with the additional
     requirement that the plaintiff was a direct victim of the negligent conduct or a by-
     stander. Barnes v. Anyanwu, 391 F. App’x 549, 552 (7th Cir. 2010).


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allegations do not contain an embedded federal question. As an initial matter, Plaintiffs’

emotional distress claims are not specifically supported by any specific allegation that re-

fers to federal law. See S.A. 68–70 (Compl. ¶¶ 319–36). Smith & Wesson does not argue

otherwise. See App. Br. at 6–7 (noting only that Plaintiffs’ emotional distress claims “are

supported by incorporating all of the ‘the foregoing allegations’ of the Complaint’”).

       As for Plaintiffs’ negligence claim, Plaintiffs proffer several state-law theories sup-

porting liability, meaning deciding issues of federal law is far from “inescapable” for the

purposes of resolving these claims. As the district court correctly observed, “[f]ederal law

is in play, but it is not the only ball in play. The complaint gives a bunch of other reasons

why Smith & Wesson was negligent . . . [that] have nothing to do with federal law.” A-40.

For instance, Plaintiffs allege that “Smith & Wesson knows, or has reason to know, of the

foreseeable risk that marketing of its M&P assault rifles to civilian adolescents and young

adults using military and law enforcement imagery and references and appeals to increas-

ing adrenaline will inspire or encourage such consumers to choose M&P rifles for use in

mass shootings.” S.A. 55 (Compl. ¶ 234). Plaintiffs further allege that “Smith & Wesson has

breached its duty of care by choosing—in the face of foreseeable risk—to negligently and

misleadingly market its M&P rifles to teenagers and young adults.” Id. (Compl. ¶ 235).

       As further discussed below, Smith & Wesson argues for Grable jurisdiction based

on Plaintiffs’ alternative theory of Smith & Wesson’s liability for negligence that refers to




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federal law, i.e., that “if Smith & Wesson had complied with the requirements of the [Fire-

arms Act], the Shooter would not been able to access the weapon.” Id. (Compl. ¶ 241). Smith

& Wesson’s argument fails for two reasons.

       First, as the district court held, Plaintiffs allege theories of negligence wholly “apart

from Plaintiffs’ allegations about the [Firearms Act],” demonstrating that “Plaintiffs could

prevail without establishing that Smith & Wesson violated the [Firearms Act]’s manufac-

turing and labeling requirements.” A-40.

       Second, alleging that a defendant breached a duty of care by failing to comply with

federal law is not sufficient to confer federal-question jurisdiction under Grable. As the Su-

preme Court noted in Grable, “[o]ne only needed to consider the treatment of federal vio-

lations generally in garden variety state tort law,” where violations of federal law routinely

provide support for a negligence per se claim under state law but do not raise a federal

issue. 545 U.S. at 318–19. “That some standards of care used in tort litigation come from

federal law does not make the tort claim one ‘arising under’ federal law.” Bennett v. Sw.

Airlines Co., 484 F.3d 907, 912 (7th Cir. 2007). It follows, then, that a federal question is not

embedded in Plaintiffs’ common-law claims, as answering a federal question is, once again,

not unavoidable.

              (c)     The Court Need Not Adjudicate the Meaning and Application of the
                      Firearms Act to Resolve Plaintiffs’ Claims

       Smith & Wesson’s arguments that Plaintiffs’ claims necessarily raise federal is-

sues—notwithstanding that Plaintiffs bring state-law claims that can be proven without




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reference to federal law, as explained above—boil down to the same easily rejected propo-

sition: that “the state court must adjudicate the meaning and application of the Firearms

Act to resolve [Plaintiffs’] claims.” App. Br. at 33. According to Smith & Wesson, because

Plaintiffs’ state-law claims include alternative theories that Smith & Wesson’s deceptive

marketing practices, including the failure to identify its M&P assault rifles as machineguns,

led people to believe that they can obtain such weapons without complying with Firearms

Act requirements, and that Smith & Wesson failed to comply with Firearms Act require-

ments in manufacturing its weapons, id. at 29, Plaintiffs accordingly seek a “ruling that the

M&P rifle is in fact an NFA weapon,” which necessarily raises a federal issue, id. at 30, 33

(emphasis in original).

       Smith & Wesson’s argument is unsupported by Plaintiffs’ complaints, which seek no

such ruling. See S.A. 46, 49, 56 (Compl. ¶¶ 178, 201, 245) (seeking damages); see S.A. 53

(Compl. ¶ 224) (seeking injunctive relief). Indeed, the district court properly considered and

rejected this argument below, noting that “scattered references to federal law” within

Plaintiffs’ Consumer Fraud Act claims “recede into the background” when compared to the

many other reasons, unrelated to federal law, why Smith & Wesson allegedly violated the

relevant statutes. See A-33. As set forth above, despite Smith & Wesson’s attempt to “down-

play the non-federal reasons alleged in the complaint[s],” see A-35, all of Plaintiffs’ claims

may be proven without deciding a single issue of federal law.

       And Smith & Wesson “cannot establish federal jurisdiction by reading out of the

complaint independent state law grounds that support the claims.” A-35 (quoting Collins v.



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Pontikes, 447 F. Supp. 2d 895, 902 (N.D. Ill. 2006)). Indeed, federal courts in this Circuit

and around the country consistently have rejected firearms companies’ attempts to sideline

state-law claims in order to manufacture federal jurisdiction. See, e.g., Tisdale v. Pa-

gourtzis, 2020 WL 7170491, at *5 (S.D. Tex. Dec. 7, 2020) (finding that federal law was not

necessary to decide plaintiffs’ negligence claims against ammunition vendors because vio-

lation of federal law “is just one way the plaintiffs can establish that the defendants were

negligent”) (citations omitted); Daniel v. Armslist, LLC, 2016 WL 660894, at *3–*4 (E.D.

Wis. Feb. 17, 2016) (finding no federal jurisdiction over state-law claim against firearms

online marketplace because, among other things, plaintiffs’ claims did not rely exclusively

on violation of federal law); Corporan v. Wal-Mart Stores E., LP, 194 F. Supp. 3d 1128,

1131–32 (D. Kan. 2016) (finding no federal jurisdiction over state claims against firearms

retailer because plaintiffs’ state-law claim was “supported by alternative and independent

theories, one of which [did] not implicate federal law”) (citations omitted). In support of its

argument, Smith & Wesson relies on three cases—Broder, Fleet Farm, and Arm or Ally—

that are neither controlling authority in this Court nor factually similar to Plaintiffs’ claims

here. App. Br. at 30–31. Indeed, unlike here, in all three cases it was impossible for the state

court to resolve state-law claims without deciding some issue of federal law.

       In Broder v. Cablevision Systems, Corp., for example, the Second Circuit held that

the plaintiff’s claims for breach of contract “necessarily raised” a federal issue because the

contract provisions the defendant allegedly breached incorporated federal law. 418 F.3d

187, 194–95 (2d Cir. 2005). There was no way for the court to answer the question of whether



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the defendant had breached the contract without addressing federal law. Smith & Wesson

cites Broder for the proposition that Plaintiffs’ claims “necessarily implicate a ‘complex fed-

eral regulatory scheme,’” which is “the manufacture, classification, distribution, taxing, and

sale of firearms.” App. Br. at 30–31 (citing Broder, 418 F.3d at 195). This misses the mark—

unlike in Broder, there are ample ways for Plaintiffs to prove their state-law claims without

any reference to federal law or that “federal regulatory scheme.” See supra Section

II.B.1(a) (outlining multiple independent state-law theories of Smith & Wesson’s liability

for violating the Consumer Fraud Act and the Deceptive Trade Practices Act) and Section

II.B.1(b) (outlining multiple independent state-law theories of Smith & Wesson’s liability

for negligence and infliction of emotional distress).

       Similarly, in Minnesota v. Fleet Farm, the district court there acted against a long

line of cases (see infra at 35) by holding that it could not decide the plaintiff’s state-law

negligence claim without interpreting federal law, finding it to be a rare case in which the

complaint was wholly “premised on the fact that [the defendant] violated its duty of care by

not following federal guidance.” 2023 WL 4203088, at *5 (D. Minn. June 27, 2023). Even

assuming that the district court in Fleet Farm was correct, its holding is inapplicable here

because, by contrast, Plaintiffs’ state-law claims contain only scattered references to fed-

eral law and can easily be proven without demonstrating that Smith & Wesson violated

“federal guidance.” See supra Sections II.B.1(a) and II.B.1(b).




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       And in New York v. Arm or Ally, LLC, the district court held that the New York

Attorney General’s lawsuit under a state statute “necessarily raised” a federal issue be-

cause the state statute specifically provides that it applies to a gun industry member who

sells a “qualified product” as defined by federal law. 644 F. Supp. 3d 70, 78–79 (S.D.N.Y.

2022). None of these cases involves claims resembling Plaintiffs’ here, which all can be re-

solved without any application or interpretation of federal law. See supra Sections II.B.1(a)

and II.B.1(b).

       In sum, Plaintiffs’ state-law claims do not necessarily raise a federal issue, and there

is no “embedded federal question” under Grable for a federal court to decide. Because none

of Plaintiffs’ state-law claims is “impossible to decide” without deciding an issue of federal

law, Hartland Lakeside, 756 F.3d at 1035, there is no federal-question jurisdiction. Moreo-

ver, because no federal issue is necessarily raised, no federal issue is actually disputed.

Webb, 889 F.3d at 861.

                 2.   Smith & Wesson Does Not Raise “Substantial” Federal Issues

       None of the state-law causes of action in the complaints raises a “substantial” federal

issue under Grable. Smith & Wesson’s argument that this factor is satisfied is based on a

wholesale rewrite of Plaintiffs’ complaints. Smith & Wesson misleadingly asserts that

“Plaintiffs’ core claim [is] that Smith & Wesson violated the [Firearms Act]” and miscon-

strues the remedy sought by Plaintiffs by claiming that they seek “a declaration by a state

court that the M&P rifle is a machine gun under the [Firearms Act].” App. Br. at 33, 45

(emphasis added). Contrary to Smith & Wesson’s gross mischaracterization, Plaintiffs’ 336-



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paragraph Complaint includes only fourteen paragraphs—nine unique—that allege, as an

alternative theory of liability for their state-law consumer protection and negligence claims,

that Smith & Wesson negligently and deceptively marketed its M&P rifles without disclos-

ing that they are “NFA weapons.” See supra, Section II.B.1. These allegations do not

amount to a separate “claim,” let alone a “core” one. This Court should not allow Smith &

Wesson to rebrand Plaintiffs’ state-law claims as somehow “federal” at their “core” in order

to shoehorn this action into federal court through Grable jurisdiction.

       The few allegations in Plaintiffs’ complaints that do refer to federal law, specifically

to violations of the Firearms Act, are not “substantial” for purposes of Grable. See Lancas-

ter v. Astellas Pharma, Inc., 2008 WL 4378441, at *4 (S.D. Ill. Sept. 23, 2008) (“[T]he mere

fact that a state court may have to reference federal regulations in determining the outcome

of a claim is not sufficient by itself to create a substantial federal question under Grable.”).

       As set forth in Section II.B.1, supra, these allegations merely supply support for one

of several alternative theories for relief on Plaintiffs’ state-law claims—an alternative the-

ory arguing that the M&P 15 meets a regulatory definition for a machinegun that courts

have repeatedly applied. See, e.g., Supp. App. 3–4 (Goldstein, No. 37-2020-00016638-CU-

PO-CTL, at 3–4); Parsons, 2020 WL 1821306, at *5–*6. It cannot be that these federal is-

sues are substantial when they are not even “necessarily raised” by Plaintiffs’ claims, see

id., because “an issue not raised cannot be . . . substantial.” Webb, 889 F.3d at 861.

       Plaintiffs’ scattered references to the Firearms Act are also not “substantial” be-

cause the Firearms Act confers no private right of action. The Supreme Court has held that,



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in assessing whether a claim has the “sort of significance for the federal system” that con-

fers federal-question jurisdiction, the lack of a remedy under the relevant federal statute

“is tantamount to a congressional conclusion that the presence of a claimed violation of the

statute as an element of a state cause of action is insufficiently ‘substantial.’” Merrell Dow

Pharms. Inc. v. Thompson, 478 U.S. 804, 804 (1986). As further explained in Section III.C,

infra, the Firearms Act does not provide a private right of action; thus, any claims arising

under the Firearms Act are not substantial for purposes of Grable.

       The absence of a “substantial” federal issue under Grable plainly requires remand.

Gunn, 568 U.S. at 258.

              3.     Accepting Smith & Wesson’s Arguments Would Disrupt the Fed-
                     eral-State Balance

       Plaintiffs’ claims are not “capable of resolution in federal court without disrupting

the federal-state balance approved by Congress.” Gunn, 586 U.S. at 258. This is because

the exercise of federal jurisdiction over quintessential state-law causes of action would fun-

damentally undermine the “federal-state division of labor.” Grable, 545 U.S. at 315.

       The Supreme Court has recognized that allowing federal jurisdiction over typical

negligence claims, even where they may implicate issues of federal law, could dramatically

and undesirably increase the volume of federal litigation over state-law claims. Merrell

Dow, 478 U.S. at 811–12; Grable, 545 U.S. at 318–19. Removing such claims to federal court

would therefore undermine the congressionally approved “federal-state balance” contem-

plated by Gunn and Grable.




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       Merely alleging a violation of federal law in connection with traditional “garden va-

riety” tort claims, such as the negligence claims here, does not disturb the ordinary balance

between state and federal courts. See Grable, 545 U.S. at 314, 318–19. Federal courts are

courts of limited jurisdiction, and Congress did not intend for that limited jurisdiction to

reach any action in which a plaintiff’s complaint references federal law.

       Federal courts considering similar cases to this one have observed as much. For in-

stance, in Corporan v. Wal-Mart Stores East, relatives of a shooting victim sued a Wal-

Mart in state court for negligently selling the shotgun that was used in the shooting to a

straw purchaser in violation of federal law. Id. at 1130. Wal-Mart removed the case to fed-

eral court, and on the plaintiffs’ motion for remand, the Court held that federal jurisdiction

was “not appropriate” because “[t]he Gun Control Act referenced by plaintiffs in their pe-

tition does not create a private, federal cause of action and the petition reveals a fact-bound,

private dispute between parties with no direct interest by the United States.” Id. at 1133–

34. Simply put, the presence of a federal issue as an ingredient in a tort claim is “not the

kind of adjudication for which jurisdiction would serve congressional purposes and the fed-

eral system.” Merrell Dow, 478 U.S. at 814.

       Smith & Wesson attempts to turn this well-worn doctrine on its head, arguing that

“remand would disrupt the appropriate [federal-state] balance by allowing a state court to

resolve a federal question . . . and potentially upend a federal regulatory scheme.” App. Br.

at 36 (emphasis in original). Its argument finds no traction. It is based on the same false

premise, properly rejected by the district court out of hand and refuted again above, that



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Plaintiffs’ claims “necessarily raise” federal issues that must be addressed in order to re-

solve Plaintiffs’ deceptive marketing and negligence claims. But the federal issues under-

lying “whether the M&P rifle is a ‘machinegun’” pursuant to federal regulation and

“whether Smith & Wesson violated the [Firearms Act],” App. Br. at 35, simply do not need

to be adjudicated in order for Plaintiffs’ claims to be resolved, because those claims are

independently supported by ample factual allegations unrelated to any federal issue. See

Section III.B.1, supra. There is nothing to Smith & Wesson’s assertion that a state court

hearing claims arising under state law—just as it should—would offend principles of feder-

alism.

                                             * * *

         Smith & Wesson cannot satisfy any of the Grable factors. The district court’s finding

that it lacks federal-question jurisdiction therefore should be affirmed.

         C.     The Artful Pleading Doctrine Does Not Permit Removal Here

         The artful pleading doctrine also does not provide federal-question jurisdiction here

because Plaintiffs bring straightforward state-law claims. As detailed above, Plaintiffs’

claims against Smith & Wesson facially and substantively allege violations of Illinois state

statutes and Illinois state common law.

         As the district court correctly explained, the artful pleading doctrine is an exception

to the well-pleaded complaint rule, which applies only where a plaintiff has “disguised” fed-

eral claims as state-law claims. A-51-52; see Franciscan Skemp Healthcare, Inc. v. Cent.

States Joint Bd. Health & Welfare Tr. Fund, 538 F.3d 594, 596 (7th Cir. 2008). Put another



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way, “[a] plaintiff may not frame his action under state law and omit federal questions that

are essential to recovery.” Burda v. M. Ecker Co., 954 F.2d 434, 438 (7th Cir. 1992) (citing

Franchise Tax Bd., 463 U.S. at 22). But Plaintiffs did not “fail[] to plead federal questions

necessary to recovery or facts that would indicate federal jurisdiction.” See Empress River

Casino Corp. v. Loc. Unions No. 9 and 176, Int’l Bhd. of Elec. Workers, 1994 WL 262075,

at *3 (N.D. Ill. June 10, 1994) (citing Burda, 954 F.2d at 438). Smith & Wesson did not

contend otherwise before the district court, and it conspicuously does not make such an

argument here.

       Instead, Smith & Wesson seeks to manufacture federal claims by stripping Plain-

tiffs’ claims of their state-law bases. See App. Br. at 37. Relying on the false premise that

federal courts “must evaluate the merits” of state-law claims when assessing jurisdictional

questions, Smith & Wesson requests that this court “disregard” Plaintiffs’ state-law claims

because they are purportedly “implausible.” Id. But Smith & Wesson fails to provide any

meaningful support for the notion that a federal court is entitled to resolve state-law claims

on the merits as part of a jurisdictional analysis, and Plaintiffs are aware of none. Indeed,

that proposition confuses the order in which federal courts must operate: “Subject-matter

jurisdiction always comes ahead of the merits.” Leguizamo-Medina v. Gonzales, 493 F.3d

772, 774 (7th Cir. 2007); see also Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 98

(1998) (noting “two centuries of jurisprudence affirming the necessity of determining juris-

diction before proceeding to the merits”).




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        As Smith & Wesson concedes, its cases do not support the proposition that a federal

court may resolve state claims to assess the existence of federal subject-matter jurisdiction

but instead address the extremely limited set of circumstances in which “attempts to plead

a federal claim to establish jurisdiction over state-law claims” in federal court require a

federal court to review the merits of that federal claim. App. Br. at 37 (emphasis added);

see, e.g., Walton v. Bayer Corp., 643 F.3d 994, 999 (7th Cir. 2011) (explaining that “utterly

groundless” claim brought in federal court against non-diverse defendant does not create

federal jurisdiction). 14

        Smith & Wesson misleadingly frames such an assessment by federal courts as rou-

tine, though it is anything but. Federal courts review the merits of a federal claim when

assessing subject-matter jurisdiction only if the claim is “so insubstantial, implausible, fore-

closed by prior decisions of this Court, or otherwise completely devoid of merit as not to

involve a federal controversy.” Steel Co., 523 U.S. at 89 (citation omitted). Tellingly, Smith

& Wesson provides no case law to support the inverse: that there are any circumstances in

which a federal court must weigh the merits of state-law claims that plaintiffs seek to have

adjudicated in state court. There is no such set of circumstances.

        In any event, Smith & Wesson’s arguments about the merits of Plaintiffs’ state-law

claims are misplaced. Such claims are far from “implausible” or “foreclosed” on the merits,


14
     Smith & Wesson also cites Shapiro v. McManus, 577 U.S. 39, 45–46 (2015), for this
     proposition, but it is entirely inapposite. There, the Supreme Court assessed whether
     28 U.S.C. § 2284(a) required that plaintiff’s federal claims regarding apportionment of
     congressional districts be reviewed by a three-judge district court rather than one pre-
     sided over by a single judge. Id. at 41–42.


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as demonstrated by a recent case in the Supreme Court of Connecticut in which analogous

claims survived a motion to dismiss. See Soto v. Bushmaster Firearms Int’l, LLC, 202 A.3d

262, 325 (Conn. 2019) (affirming trial court’s determination that federal statute did not pre-

vent plaintiffs from pursuing unethical advertising claims under Connecticut Unfair Trade

Practices Act); see also Prescott v. Slide Fire Solutions, LP, 410 F. Supp. 3d 1123, 1141 (D.

Nev. 2019) (declining to dismiss negligence claim based on firearm industry defendant’s

alleged failure to reasonably and safely sell and market its product).

       Neither of the cases Smith & Wesson cites as support for its pronouncement that

the “Illinois Supreme Court [has] foreclosed causation against firearm manufacturers,”

App. Br. at 38, is dispositive here because those cases dealt with claims of public nuisance,

not consumer protection laws. Young v. Bryco Arms, 821 N.E.2d 1078, 1080–801 (Ill. 2004)

(public nuisance claims against 21 firearm manufacturers and distributors); City of Chicago

v. Beretta U.S.A. Corp., 821 N.E.2d 1099, 1105–06 (Ill. 2004) (public nuisance claims against

thirteen firearms manufacturers, two firearms distributors, and eight firearms dealers).

       Smith & Wesson also fails to provide support for the even further-flung notion that

a defendant’s claimed grounds for removal of a case, rather than a plaintiff’s own pleading,

permit a federal court to review the merits of plaintiff’s state-law claims. A-37. The one case

Smith & Wesson cites in support of this proposition, Illinois Public Risk Fund v. Purdue

Pharma L.P., in fact cuts against it. There, the district court found that the plaintiff’s com-

plaint did not necessarily raise a federal issue under Grable, including because a mere “ref-

erence to federal law does not suggest that a federal issue will inevitably arise.” 2019 WL



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3080929, at *2 (N.D. Ill. July 15, 2019). The court declined to assess the merits of plaintiff’s

claims and remanded the case to state court without even mentioning the merits. Id. at *3.

       Thus, Smith & Wesson entirely fails to show that the artful pleading doctrine applies

here. As the district court unequivocally stated, Plaintiffs’ claims “are not federal claims in

disguise.” A-52. Smith & Wesson’s repeated and tortured attempts to shoehorn merits ar-

guments into a jurisdictional dispute do not change this conclusion. If anything is “dis-

guised” here, it is Smith & Wesson’s attempt to frame an improper merits argument as an

issue to be addressed under the artful pleading doctrine. The merits of Plaintiffs’ state-law

claims should be decided in state court.

       D.     The District Court’s Rejection of Smith & Wesson’s Complete Preemp-
              tion Argument Was Correct

       Smith & Wesson also argues that removal was proper under the “complete preemp-

tion doctrine” because Plaintiffs’ claims “can be recast” as federal claims for relief, and

claims based on preempted state law arise under federal law. App. Br. at 42. According to

Smith & Wesson, complete preemption applies here because Plaintiffs’ claims “are predi-

cated and rely” on “alleged violations of the [Firearms Act] which provides an exclusively

federal regulatory regime for certain classes of firearms.” Id. at 43. But complete preemp-

tion does not apply here because the Firearms Act does not create a private right of action,

nor does it include a clear congressional intent to completely preempt the state-law claims

under which Plaintiffs here seek relief.

       Seventh Circuit precedent holds that “complete preemption can only exist where,

inter alia, the federal statute provides a private right of action.” Rogers v. Tyson Foods,


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Inc., 308 F.3d 785, 790 (7th Cir. 2002). Given this narrow limitation, the complete preemp-

tion doctrine has been applied only to a “select group of claims,” none of which is at issue

here. See Corp. Travel Consultants, Inc. v. United Airlines, Inc., 799 F. Supp. 58, 60 (N.D.

Ill. 1992). As the district court noted, “[c]omplete preemption is rare,” A-46 (citing Maglioli

v. All. HC Holdings LLC, 16 F.4th 393, 408 (3d Cir. 2021)), and the “Supreme Court has

recognized only three federal statutes that completely preempt analogous state-law ac-

tions.” Id. (citations omitted). The Firearms Act is not among them.

       The Firearms Act does not create a private right of action—as Smith & Wesson

acknowledges. See App. Br. at 47 (Firearms Act “is not privately enforceable”). Smith &

Wesson tries to fill that gap by contending that the Administrative Procedure Act “oper-

ate[s] in tandem” with the Firearms Act “to completely preempt Plaintiffs’ claims” by

providing a private cause of action—specifically because a person may petition a court to

review a federal agency’s administrative determinations under the Firearms Act. Id. at 44.

But the Administrative Procedure Act permits suits against federal agencies only based on

“agency action” that is final. See 5 U.S.C. §§ 702, 704. It does not create a private right of

action to sue private parties, as the complete preemption doctrine requires. And it certainly

creates no right of action here, where there is no final ATF determination regarding the

classification of Smith & Wesson’s M&P rifle. In any event, as the district court correctly

found, “judicial review of agency action does not preempt the [Consumer Fraud Act or]

Plaintiffs’ other state-law tort claims.” A-50.




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       That result is particularly clear-cut because “any further expansion of the [complete

preemption] doctrine” beyond the three federal statutes cited above “requires a clear show-

ing of Congressional intent to eliminate state law entirely.” Wabash Valley Power Ass’n,

707 F.3d at 894 (emphasis added). Smith & Wesson does not (and cannot) substantiate its

contention that Congress intended to eliminate state law regarding unfair and deceptive

marketing. Interpreting the Administrative Procedure Act as Smith & Wesson suggests

would produce the absurd result of preempting any state law covering the same subject

matter as any federal agency’s rules.

       Moreover, Smith & Wesson’s argument that Plaintiffs’ complaints are completely

preempted yet again ignores the complaints themselves, which allege unfair, deceptive, and

negligent marketing practices—an area that is not governed by any federal laws or regu-

lations. Therefore, even if Plaintiffs’ allegations that Smith & Wesson violated the Firearms

Act were somehow preempted—they are not—Plaintiffs would still retain theories of,

among others, Consumer Fraud Act and negligence liability based on Smith & Wesson’s

other unfair, deceptive, and unlawful conduct.

       Nor do the ATF’s regulatory determinations preempt any of Plaintiffs’ claims. In

fact, the ATF’s regulations and determinations do not conflict with—and actually support—

Plaintiffs’ theories. Multiple courts have cited ATF Ruling 82-8 (or an analogous ruling)

while agreeing that it is plausible to view AR-15-style firearms as constituting “ma-

chineguns” under the National Firearms Act. Parsons, 2020 WL 1821306, at *5–*6; Supp.

App. 3–4 (Goldstein, No. 37-2020-00016638-CU-PO-CTL, at 3–4).



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III.   Smith & Wesson’s Failure to Obtain Consent From All Defendants Also Pre-
       vented Removal

       “As a general rule, all defendants must join in a removal petition in order to effect

removal.” N. Ill. Gas Co. v. Airco Indus. Gases, 676 F.2d 270, 272 (7th Cir. 1982) (citing P.

P. Farmers Elevator Co. v. Farmers Elevator Mut. Ins. Co., 395 F.2d 546, 547 (7th Cir.

1968)); see also 28 U.S.C. § 1446(b)(2)(A). However, when Smith & Wesson removed this

case, it failed to obtain the consent of two defendants—Robert Crimo Jr., and Robert

Crimo, III. Smith & Wesson asserts that the district court did not resolve whether “removal

was defective for failing to secure the consent of all defendants.” App. Br. at 47. However,

the district court rejected Smith & Wesson’s excuses for failing to secure consent, conclud-

ing that Smith & Wesson’s arguments failed because they assumed, incorrectly, the exist-

ence of a federal claim. A-54.

       Smith & Wesson first asserts that because it seeks to remove this case under Section

1442 (the federal-officer removal statute), “the consent requirement of Section

1446(b)(2)(A) was not triggered.” App. Br. at 48. But Section 1442, the federal-officer re-

moval statute, is not a valid basis for removal here and accordingly is not an excuse for

failing to obtain consent. A-21; see supra Section I.

       In the alternative, Smith & Wesson contends that removal under Section 1441(c)

provides an exception to the consent requirement, such that consent is not required from

defendants against whom plaintiffs assert state-law claims over which the court lacks sup-

plemental jurisdiction. App. Br. at 48. Under Smith & Wesson’s ill-conceived theory that

Plaintiffs assert federal claims against Smith & Wesson but assert only unrelated state-law



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claims against the Crimo defendants, a federal court would not have supplemental jurisdic-

tion over the claims against the Crimo defendants and Smith & Wesson would not need to

obtain consent for removal from them. But as the district court correctly held, Section

1441(c) “applies only when the complaint includes a claim that arises under federal law,”

and here “no claim arises under federal law.” A-54; see supra Section II.B.

       Even if a claim did arise under federal law here, the court would have supplemental

jurisdiction over all claims. “The court has supplemental jurisdiction ‘over all other claims

that are so related to claims in the action within such original jurisdiction that they form

part of the same case or controversy.’” Sanchez & Daniels v. Koresko, 503 F.3d 610, 614

(7th Cir. 2007) (quoting 28 U.S.C. § 1367(a)). Every one of Plaintiffs’ claims arises from the

same harm (Plaintiffs’ injuries sustained during the mass shooting) and is based on the

same operative facts (the events leading to and including the mass shooting). “Two claims

are part of the same case or controversy if they ‘derive from a common nucleus of operative

facts. A loose factual connection between the claims is generally sufficient.’” Id. (citations

omitted). “Section 1441(c)(1) does not apply” where “claims arise from the same common

nucleus of operative facts.” Elftmann v. Vill. of Tinley Park, 191 F. Supp. 3d 874, 883 (N.D.

Ill. 2016). That is the case here.

       It is irrelevant whether the “alleged unlawful acts” by Smith & Wesson are distinct

from the acts of other defendants, as Smith & Wesson now argues. App. Br. at 48. The cases

Smith & Wesson cites in support of this proposition are neither relevant nor controlling.

See Gen. Auto Serv. Station v. City of Chi., 2004 WL 442636, at *11–*12 (N.D. Ill. Mar. 9,



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2004) (assessing whether claims against two different entities were “related” on motion to

dismiss); Wagner v. Bank of Am., N.A., 2012 WL 6586347, at *2–*3 (S.D. Ill. Dec. 17, 2012)

(finding no supplemental jurisdiction where plaintiff explicitly pled federal-law claim and

motion to remand acknowledged state-law claims were “totally unrelated to the federal

claim”).

       In connection with Section 1441(c), all that matters is that the harm to Plaintiffs by

each defendant arises from a common set of underlying facts. See Am. Fire & Cas. Co. v.

Finn, 341 U.S. 6, 14 (1951) (“[W]here there is a single wrong to plaintiff, for which relief is

sought, arising from an interlocked series of transactions, there is no separate and inde-

pendent claim or cause of action under § 1441(c)”); Lewis v. Louisville & Nashville R. Co.,

758 F.2d 219, 221 (7th Cir. 1985) (“Even if more than a single wrong exists, claims are not

‘separate and independent’ if the wrongs arise from an interlocked series of transac-

tions, i.e., they substantially derive from the same facts.”) (citations omitted). That is un-

questionably true here. In fact, Smith & Wesson has acknowledged that each claim brought

by Plaintiffs “arises out of the shooting committed by Crimo III at the July 4, 2022, parade

in Highland Park, Illinois and essentially the same advertisements by Smith & Wesson,”

and that the claims share common questions of law and fact. Case No. 1:22-cv-06169, Dkt.

No. 23 at 8.

       Thus, none of the exceptions to the consent requirement for removal claimed by

Smith & Wesson applies. Because Smith & Wesson was required to obtain the consent of

all defendants for removal, see N. Illinois Gas Co., 676 F.2d at 272; see also 28 U.S.C.



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§ 1446(b)(2)(A), 15 and Smith & Wesson admitted that it failed to secure such consent, this

Court should affirm the district court’s conclusion that Smith & Wesson’s removal was in-

curably defective.




15
     “When a civil action is removed solely under section 1441(a), all defendants who have
     been properly joined and served must join in or consent to the removal of the action.”
     28 U.S.C. § 1446(b)(2)(A).


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                                   CONCLUSION

     The district court’s order remanding the action to state court should be affirmed.


                                              Respectfully submitted,

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  SUPPLEMENTAL APPENDIX TO THE BRIEF OF PLAINTIFFS-APPELLEES

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  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
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  330 West Broadway
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